       Case: 1:22-cv-01048 Document #: 47 Filed: 11/04/24 Page 1 of 2 PageID #:155



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, administrators of the estate of         )
 MATTHEW PHILLIPS, deceased,                       )
                                                   )
                                 Plaintiffs,       )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                 Defendant.        )

                                    JOINT STATUS REPORT

         Pursuant to the Court’s Entry of September 4, 2024 (Dkt. 46), the parties jointly submit the

following status report:

  I.     Status of United States v. Simonson, et al., 21 CR 50064 (N.D. Ill.)

         The criminal case is set for trial to commence on May 5, 2025. No. 21 CR 50064, Dkt.

188. In preparation for trial, defendants served extensive subpoenas on the Bureau of Prisons,

which the United States moved to quash. Id., Dkt. 195. After defendants responded to the motion,

the court held a hearing. Id., Dkt. 208, 209, 212, 213. At the hearing, the court made various

discovery-related rulings. It granted the United States’ motion to quash and at the same time

ordered the United States to produce certain information to the court for in camera review. It also

granted defendants leave to serve amended subpoenas that seek relevant, material information

falling within the scope of Fed. R. Crim. P. 16 or 17. Id., Dkt. 213. The court indicated that it

would set another status hearing at a later date. Id. Since the hearing, defendants have served

amended subpoenas on the Bureau of Prisons, and the United States is in the process of

supplementing discovery with respect to some of the subpoena requests.
       Case: 1:22-cv-01048 Document #: 47 Filed: 11/04/24 Page 2 of 2 PageID #:156



 II.     Modification or Lift of the Stay

         The parties do not have any new information that might affect the stay beyond what was

previously discussed with the Court.

III.     Status Hearing

         At this time, the parties do not request a status hearing.

Respectfully submitted,

/s/ Jeremy A. Tor                                              MORRIS PASQUAL
JEREMY A. TOR (Admitted Pro Hac Vice)                          Acting United States Attorney
NICHOLAS A. DICELLO (Admitted Pro Hac Vice)
MICHAEL P. LEWIS (Admitted Pro Hac Vice)                       By: /s Kathleen M. Przywara
SPANGENBERG SHIBLEY & LIBER LLP                                     KATHLEEN M. PRZYWARA
1001 Lakeside Avenue East, Suite 1700                               Assistant United States Attorney
Cleveland, OH 44114                                                 219 South Dearborn Street
(216) 696-3232 | (216) 696-3924 (FAX)                               Chicago, Illinois 60604
jtor@spanglaw.com                                                   (312) 353-4137
ndicello@spanglaw.com                                               kathleen.przywara@usdoj.gov
mlewis@spanglaw.com

Antonio M. Romanucci
David A. Neiman
Blake J. Kolesa
ROMANUCCI & BLANDIN, LLC
321 N. Clark Street, Suite 900
Chicago, IL 60654
aromanucci@rblaw.net
dneiman@rblaw.net
bkolesa@rblaw.net
Counsel for Plaintiffs




                                                   2
